!REVISED 06/15/10! ADMIN USE ONLY: LOGBOOKJJ7ZsTATS            \,JCASE EXPLORER v/ COPY TO ADMIN UNIT__
                            Case 8:18-cv-00134-PX Document 119-1 Filed 02/06/24 Page 1 of 5  Page 1 of ..L__                  EXHIBIT A
                                                !Vice, Intelligence, Narcotics, CDVIT Information!

      . PIXJDECS · 131 INITIAl,.,·,EJ UPDATE                                       □ ARREST                       .. DATE FAXED TO AVNT:                        1//o       /r)

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CASE#                                            i CC#
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                                                                ,                                           DATE          /½fo~o
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                                                                                                                                                               O.J
                                                                                                                                                       PRECINCT- --
INVESTIGATOR(S):___,_;,'~"'"'/4,'-"'-',v=~~v:.,,__d-"-s=o~d'--'·,:d""-_______.NARCOTICS SQUAD/CDVIT UNIT                                                                 e A-S(
                                                     I
TYPE OF INCIDENT/TRANSACTION: _                                     ___:;S:L...I.c"'-----~--------
LOCATION OF INCIDENT/TRANSACTION:                                           I CJe ,T ,,d,c/4/(/; 5'7;,,J                                                                  ?
                                                                                                                                                                                          i


           SEARCH WARRANT:                                 lfll YES               ONO                /.
                                                                                                 /
            JOINT INVESTIGATION:                           □ YES                  [\)NO/IF YES, WITH WHOM: _ _ _ _ _ _ _ __

            ASSIST CASE:                                                          li\'lr          IF YES, WITH WHOM:




!NAME!: ~m,~_'-:.,q(L&~C.,_/!"'.-v'.""T-"oCLl);.cJ/,_-,_,.A..:.1""v'-+/"-o(L1•4c1L,~··-,.._,,:T""i::7""5""<,a"""-ih'-.--'ALIAS/ NICKNAME:__,/c..:r,;~.Ac.c/.,c..:,"",,""/V-'--'_ _ _ __
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                     RACE        W          DOB/AGE                                     HGT_ _ WGT_ _ _ HAIR _ _ _ _ EYES _ __

        RESS __,_7--"l"-J-"'-t,,_,c7'---'/!""~:..::.'<0,,,,.·
                                                         ,:. ,;;{~~~s;"-/4~(/JL""U"'--_ _ _ _ _ _ _ _ TIP # _ _ _ _ _ _ _ _ _ __

CITY _ _,_                      _ _ _ _ _ _ _ STATE                            l'/\o/ ZIP
SCARS, MARKS, TATTOOS _ _ _ _ _ _ _ _ _ _ _~ - - - - - - - - - - - - - - - - -

SS# _ _ _ _ _ _ _ _ GANG MEMBER                                                 □ Yes        □ No         Affiliation _ _ _ _ _ _ _ _ _ _ _ __


jARRESTEDI              □ YES           121 NO             □ FELONY                □ MISDEMEANOR                                  D Released w/o Charge
                                                                                                                                  '
ARREST#_ _ _ _ _ _ _ _ BCI#_ _ _ _ _ __                                                               SID#_ _ _ _ _ __                           FBI#_ _ _ _ _ __


!PAROLE!              □Yes         □No         PROBATION                  □Yes         □ No          AGENT _ _ _ _ _ _ _DateContacted_ __



jVEHICLE! YEAR._ _ _ MAKE._ _ _ _ _ __                                                           MODEL,;__ _ _ _ _ _ _ COLOR~----

                   TAG#_ _ _ _ _ _ _ _ STATE_ _ _ VIN#_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                                SEIZURES
lg)~' fURCHASEDI: TYPE/AMT                                 MONEY SPENT




!SEIZED CURRENCY!: ------\:-+-_,,
                                                                     _ _ _ RIFLES _ _ _ S OTGUN_ __
!WEAPONS SEIZED! :                                                                                                                                    DEF0460
                                                                              EXHIBIT A
                 Case 8:18-cv-00134-PX Document 119-1 Filed 02/06/24 Page 2 of 5
                     BALTIMORE COUNTY POLICE DEPARTMENT

                                             HEADQUARTERS
                                              700 EAST JOPPA ROAD
                                            TOWSON, MARYLAND 21286



STATE OF MARYLAND                                                 IN THE CIRCUIT COURT, CRIMINAL

            vs                                                    FOR BALTl MORE COUNTY, MARYLAND

Antony Marcantoni                                                 CASE NUMBER:

                                                                  DOCKET NUMBER: _ _ _ _ _ __


                                     SEARCH WARRANT RETURN


       To the Honorable Judge Cahill. In and For Baltimore County, State of Maryland.

       Pursuant to the Maryland Rules of Practice and Procedure, return of the Application, Affidavit,

Search and Seizure Warrant and Property Inventory is hereby made by your Affiants, Detective Toland

#3932 and Detective Sodd #4072, that the Search and Seizure Warrant was executed on the premises

described as 9 West Biddle Street,                            on the 30th day of November, 2010.



       Seized under the authority of the Search and Seizure Warrant, are those items listed on the

Property Inventory Sheet attached ~eto and incorporated herein.

        Return is hereby made this            /~       day of D       er, 2010.




AFFIDAVIT                    24
                          Number of pages

SEARCH WARRANT               3
                          Number of pages

INVENTORY
                          Number of pages




                                                                                          DEF0461
                                   Case 8:18-cv-00134-PX Document 119-1 Filed 02/06/24 Page 3 of 5                                                                            EXHIBIT A
                                                                                      BALTIMORE COUNTY POLICE DEPARTMENT                                                                             CC#:
                                                                                                                                                                                                     COMMAND:.__u_,_rL_'-"c,.,-_ _ _ __
                                                                                            PROPERTVII\IVENTORV



  "Integrity... Fairness, ,.Service"                                                                                                                                 PLACE BAR CODE LABEL HERE
                                                                                                                                                                    EVIDENCE MANAGEMENT USE ONLY
RECEIVED BY: _ _ _ _ _ _ _ _ _ __

RECEIVED FROM:
                                                                                                                                                                                                                                         PAGE _/_oFL
WHERE STORED:



Property received or recovered: Date:· /                            l /31J I ()                           Time:      05/!J                Investigating Officer: _/~-                                    -f
                                                                                                                                                                                        _..k_Vi_-~b~~~/_'____ __lD# ] ' g { .2_
     .                    ·ci· '·Y   cT 7(.', I I 1/J)
Found or recovered at:         v ·-. >'   -· l c1 c! -
                                                                                                                                                      {City!                                           (State}                     {Zip Code)
                                               (Number)           {Street)
                                                                                  1
                                                                                                                                                                                             Relationsh ip to Item Seized: (CIRCLE ONE)
Ta ken or obtained from: _rv_·_\~?~·.~(-·.~(~A~,,_-J_i~<!__,J~,1__,,__,               -~A=,,~JJ'~/i~'"~'~ll~·c.,.~J~o~-J'Rt1'-"-','/,~·_,_i-_.~/~{,_.J___f l,_/i""IJ_~~f,'-t_'__
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                                                                                                                                             (Sex/Race)/            (DOB)
                                                                                                                                                                                               Business
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                                                                                                                                                                                                                  Victim
                                                                                                                                                                                                                  Claimant
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                                                                                                                                                                                                                                                            Ffnder
                                                                                                                                                                                                                                                            Prisoner
                                                                  {Nam11l         /


Address:        '1 l,Jc,{ /J,Aj/e, s-rn_,.f(                                                                                                          tCitvl                                    (State)                 (Zip Code)                   (Telephone I
                   {Number)         (Street)

Owner or Claimant:                .5L_           .A/,     1
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                                                                                                                                             (Sax/Race!              {DOS)
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Address:
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                                                  {Street!                                                                                            !City}
                                (Number)


                                                                                                                                                                     Victim/Finder to Claim Property? □ Yes BfNo
                                                                                                                                                                     Property Photograp hed? D Yes e( No SF CODE: ;--.
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                                             Check One of the Followin g:
                                                        (Prisoner's or Victim's only!                                [AU conflscated_propertyl                       Type of Incident: '\e.AJJJ { /fiJ:c,/.lk T f )((:c,c.,.T, y
                !Lost & Found)

         0      ABANDONED                                 0        SAFEKEEPING                                       A        EVIDENCE                                Date of Incident: / (/ 311/1 '!;_
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 NOTE: Item numbers must run consecutiv e/

     Collector's        ITEM           OUANTITV                               ITEM                                                               DESCRIPTION OF PROPERTY
         ID#
                           II                                                                                                                   {Including identificat ion marks)


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  REMARKS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                          G ALL MONIES SEIZED:
  I HA VE WITNESSED THE INVENTORY OF THE ARTICLES ITEMIZED ABOVE, INCLUDIN

                                                                                                         (Witness Officer)                                                                     (Signature- Claimant/Prisoner)

                                                                                                                                                  UNDERSIGNED IN THE FOLLOWING MANNER:
  THE ABOVE LISTED PROPERTY HAS BEEN MARKED FOR IDENTIFICATION BY THE




                                                                                                                                                                                                                   DEF0490
                                                 Case 8:18-cv-00134-PX
                                                             BAL T!MORIEDocument
                                                                         COUNTY 119-1 Filed
                                                                                 POLICE     02/06/24 Page 4 of 5
                                                                                        DEPARTMENT                                                                                                    EXHIBIT A
                                                                                                                       SUPPLEMENT
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                                                                                                  ~ j:    1,1   Ss. VICTIM/ FIRM I COMPLAINANT NAME
                                                                                                  :}J / I I// BALTIMORE _COUNTY POLICE DEPARTMENT
                                                                                                                                                                                       (LAST, FIRST, MIDDLE)                   6s. DATE OF ORIGINAL REPORT
                                                                                                                                                                                                                                   //1(;-}:-z/-·o
                                                     0



                                                                      [ X] CONTll'JUATION   ' -                   OR        [ 1 FOLLOW-UP
                                                                                                                                                                              I       Bs. IF MULTIPLE CLEARANCES, LIST CC N_UMBERS
  ?s ..SUPPLEMENT STATUS:                                                                                                                                                                   /-/Ci/,/)                          "

  NARRATIVE: DO NOT REPEAT RESULTS OF PRELIMINARY INVESTIGATION (CLARIFY DATA, SCREENING FACTORS. PROBABLE CAUSE. ETC.). ENTER ANY 1NFORMAT!ON THAT IS PERTINENT.
                                 DO NOT SUMMARIZE UNLESS NECESSARY.
                                                              NAME (LAST, FIRST, MID_DLE)                                                                                                                                      10.1s VICTIM
                                 10s.
  9s. PAGE                       ARREST                                                                                                                                                                             .                         I        )ADULT
                                                              BOOKING NUMBER/ UID NUMBER/ MISCELLANEOUS INFORMATION                                                                                                                           I        } JUVENILE
  NO.
  11s. REF.
                   0             DATA
                                 12s. NARRATIVE
  BLOC!<
  NUMBER



ITEM#                                       ITEM DESCRIPTION                                                                          RECOVERY LOCATION                                                                       RECOVERY DETECTIVE
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DETECTIVE__-_\_r"'A_·_h.:.:::,_c_,_.c..L_ _ _ _ _ _ __
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                          13s.                                                                                                                                                                             14s. CASE CONTINUA~CE
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                          INITIAL SCREENING                   A.                                                                                                                                                                                                G
 "                        FACTOR
                          REVISED SCREENING                                                                                                                                                                                                  15s. CASE          <..1:·,
                          FACTOR                              A.                                                                                                                                                                              STArus            \N
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  .,, I\EPORI            18s. JNVESTIGATING OFFICER ,                                                                                                                                                                                                           -l:--
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  cm
                         21s. REPORT REVIEW OFFICER                               22s. REPORTING AREA
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Forme11 (Rev.10/06)
                                                                                                                                                                                                                              DEF0491
                                  Case 8:18-cv-00134-PX Document 119-1 Filed 02/06/24 Page 5 of 5
                                               BALTIMORE COUNTY POLICE DEPARTMENT
                                                                                                                                             EXHIBIT A
                              .                             SUPPLEMENT
                                                                                                                                        11s.   DIV   I OJ I
                                                                                                                                                      2s. PC   3s,
                          "                                                                                                                 VNS
              "lnteoritv ...Fairness . .Service"
     OFFENSE/ INCIDENT
                                                                        F-11
                                                                                       I BALTIMORE COUNTY POLICE
                                                                                            5s. VICTIM/ FIRM I COMPLAINANT NAME       (LAST, FIRST, MIDDLE)               Gs, DATE OF ORIGINAL REPORT
                                                                                                                                                                                   11/30/10
cXECUTION OF SEARCH WARRANT OJ
7s. SUPPLEMENT STATUS:                                  [X] CONTINUATION                      OR           [ l FOLLOW-UP
                                                                                                                         I           8s, IF MULTIPLE CLEARANCES, LIST CC NUMBERS



NARRATIVE: DO NOT REPEAT RESULTS OF PRELIMINARY INVESTIGATION (CLARIFY DA!A, SCREENING FACTORS, PROBABLE CAUSE, ETC.). ENTER ANY INFORMATION THAT IS PERTINENT.
                        DO NOT SUMMARIZE UNLESS NECESSARY.
                         10s,                      NAME (LAST, FIRST, MIDDLE)                                                                                             10,1s VICTIM
,,. PAGE                 ARREST                                                                                                                                                      I     ] ADULT
                                                   BOOKING NUMBER/ UID NUMBER/ MISCELLANEOUS INFORMATION                                                                              { )JUVENILE
     NO.       2         DATA
11s. REF.                12s, NARRATIVE
BLOCK                                                                                   9 WEST BIDDLE STREET UNIT 90 BALTIMORE, MD. 21201
NUMBER



       Over the last couple of months, Detectives Toland #3932 and Sodd #4072 have been conducting a
narcotics investigation involving an organization distributing large amounts of controlled dangerous
substances in the Baltimore Metropolitan area. Based upon the investigation, the detectives were able to
obtain several search and seizure warrants. One of the search warrants obtained by the detectives was for
9 West Biddle Street,

       On November 30, 2010, at approximately 0430 hours, Detective Seabolt #3862 met with detectives
from the Baltimore VCID Unit to execute the search warrant. At approximately 0510 hours, the detectives
responded to 9 West Biddle Street,                                to execute the search warrant. The
detectives knocked and announced the presence of police. Forced entry was later gained at the rear door
of the apartment. No persons were found at the location. The screen door and entry door were damaged.

       An orderly search was conducted. The items seized are noted on the search warrant inventory. The
items seized by Baltimore Police were released to the custody of Det. Seabolt.

        The above items released to Det. Seabolt, were later packaged as evidence in Baltimore County
under cc#                   See attached form 11's for additional information. Baltimore Police reported the
search warrant under OCA#                  . Detectives from Baltimore Police secured the rear entry door
prior to exiting the location.




I   SCREENING
    <'t.CTORS
                       13s.
                       INITIAL SCREENING
                       FACTOR
                                                     A. 0         B.O                C. 0           D.O              E.O             F.O
                                                                                                                                                      14s, CASE CONTINUANCE


                       REVISED SCREENING                                                                                                              16s. TOTAL                         15s. CASE
       !SED
    ,UTAL              FACTOR                        A.O          B.O                c.o            D.O              E.O             F. 0             SCREENING FACTORS       0          STATUS

    17s. IIEPORT
    OISTRIB\Jl10N
    Ret.Mgl_

    '"--
                       18s. INVESTIGATING OFFICER
                       T. SEABOLT
                       21s. REPORT REVIEW OFFICER
                                                       3862
                                                                  22s. REPORTING AREA
                                                                                        ID#
                                                                                                    /
                                                                                                        19s. SUPERVISOR'S APPROVAL
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Form e11 (Rev. 10/06)                                                                                                                                                  DEF0493
